











Opinion issued November 29, 2007


















In The
Court of Appeals
For The
First District of Texas




NO. 01-05-00649-CR




SHAKOOFEH E. REZAIE, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 209th District Court
Harris County, Texas
Trial Court Cause No. 997317




O P I N I O N
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Shakoofeh E. Rezaie, was charged by indictment with fraudulent
use of identifying information with intent to harm and defraud another.  A jury found
her guilty as charged, and the trial court assessed punishment at confinement for one
year.  In her sole issue, appellant complains that the trial court erred in admitting
business records under Texas Rules of Evidence 803(6) and 902(10).  We affirm.
BACKGROUND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Ileana Altamirez and appellant lived in the same condominium community for
approximately five years.  Although the two lived some distance from each other and
had no personal relationship, their homes shared a common mail area in which mail
was sometimes left on top of residents’ mailboxes instead of being placed in the
locked mailboxes.  In the summer of 2004, Altamirez owned approximately five
credit cards, none of which was a Dillard’s card, and had excellent credit.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A phone call from Discover Card on August 4, 2004, led Altamirez to put a
security alert on her credit line.  On August 9, Altamirez contacted police after
learning that her name, social security number, and birth date had been used
repeatedly to apply for credit cards addressed to appellant’s apartment—number
9—instead of her own—number 4.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 12, appellant used a Dillard’s credit card, which was approved on
Altamirez’s credit information, but issued in appellant’s name, to buy men’s cologne,
triggering an alert.  When confronted by a Dillard’s security officer, appellant said
that her mother authorized her to get the credit.  However, the officer placed a phone
call to Altamirez and learned that appellant was neither Altamirez’s daughter nor an
authorized user of her credit.  Appellant was arrested and charged with fraudulent use
of identifying information.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At trial, the State introduced a computer printout of an application for credit. 
This application was attached to the affidavit of James Kucharski, the custodian of
records of Dillard National Bank (the Bank).  The affidavit stated: 
I, James Kucharski, am an officer in charge of records for the
above-named organization.  I am responsible for those records requested
in the Subpoena, which was served upon and directed to Dillard
National Bank and/or myself.  
&nbsp;
To the best of my knowledge, the records produced with this
Affidavit are true and correct records, which were made at or near the
time, indicated in the documents and were transmitted by or to a person
in Dillard National Bank. 
&nbsp;
The records produced with this Affidavit were kept in the regular
course of business activity of this organization, and it is and was at all
relevant times the regular practice of the organization to make or keep
the records produced. 
&nbsp;
The above statements are based on my personal knowledge and
are true and correct to the best of my knowledge. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The application contained Altamirez’s name, birth date, social security number,
and mother’s maiden name, but listed appellant’s address, which was the same as
Altamirez’s except for the apartment number.  The application showed the same
account number that was on the Dillard’s credit card used by appellant.  Appellant’s
attorney objected to admission of the application as follows: 
Judge, I have several objections.  One would be that the affidavit
doesn’t identify what documents are supposed to be contained in the
affidavit.  It doesn’t list the number, doesn’t describe what they’re
supposed to be.  I believe under the section, it talks about, they give an
example in the Code of the business records affidavit, and normally
you’ve got the number of pages and some description of what’s in there. 
&nbsp;
The other objection is that it doesn’t meet the business records
exception in that it doesn’t say an employee with personal knowledge
of the information made, recorded it, that type of thing.  I know it says
something about somebody - - it was transmitted, but it doesn’t say
that’s somebody who had personal knowledge of the information which
is what the requirement is, which gives credibility to business records. 
That’s my objection.  
&nbsp;
THE COURT:It states I am responsible for the records
requested in the subpoena. 
&nbsp;
DEFENSE ATTORNEY:And, I do agree with that, but
what it doesn’t say is that an employee with personal knowledge of the
information about which the records relate either made those records or
received them, that type of thing.  That’s the objection.  
&nbsp;
SECOND ATTORNEY:Also, the other thing I might add,
it opens the possibility this was just transmitted to a person at Dillard’s
National Bank, and that doesn’t necessarily make it a business record. 
It speaks to records - - there is just one page here.  
&nbsp;
THE COURT:Objection overruled.  Number 2 is admitted. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After the application was admitted into evidence, Altamirez testified that the
entries on the application, except for the apartment number and telephone number,
were her identifying information and that she neither applied for the credit nor gave
her permission to another to apply.  
DISCUSSION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In her sole point of error, appellant contends that the Dillard’s application was
inadmissible as a business record because Kucharski’s affidavit lacked an explicit
“made by a person with knowledge” statement.  See Tex. R. Evid. 803(6), 902(10). 
In the alternative, appellant argues that the application’s contents were “hearsay
within hearsay,” and therefore inadmissible.  See Tex. R. Evid. 805.  The State
responds that the application was not hearsay and, thus, rules 803(6) and 902(10)
were not applicable.  We agree with the State.
Standard of Review
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The requirement of authentication or identification as a condition precedent to
admissibility is satisfied by evidence sufficient to support a finding that the matter in
question is what its proponent claims.  Tex. R. Evid. 901(a).  We review a trial
court’s admission or exclusion of evidence for abuse of discretion.  Green v. State,
934 S.W.2d 92, 101–02 (Tex. Crim. App. 1996).  As long as the trial court’s
evidentiary ruling is within the zone of reasonable disagreement, an appellate court
may not disturb it.  Id. at 102; accord Vinson v. State, 221 S.W.3d 256, 260 (Tex.
App.—Houston [1st Dist.] 2006, pet. granted) (applying same “abuse of discretion”
and “zone of reasonable disagreement” standards in hearsay context).  A trial court
goes beyond the zone of reasonable disagreement in evidentiary rulings only when
it “act[s] without reference to any guiding rules and principles.”  Montgomery v.
State, 810 S.W.2d 372, 380 (Tex. Crim. App. 1991) (emphasis added) (citation
omitted) (stressing that trial court judges have “‘a limited right to be wrong,’ so long
as the result is not reached in an arbitrary or capricious manner”). 
The Evidence
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s objections at trial and her issue on appeal assume that the
application attached to Kucharski’s affidavit was hearsay and that it could be
admitted into evidence only under the business-records exception pursuant to rules
803(6) and 902(10).  See Tex. R. Evid. 803(6), 902(10).  Although the application
is a record that is kept by the Bank, it is not hearsay.  The rules define hearsay as “a
statement, other than one made by the declarant while testifying at the trial or hearing,
offered in evidence to prove the truth of the matter asserted.”  Tex. R. Evid. 801(d). 
An out-of-court statement or writing that is offered to show what was said, and not
for the truth of the statement, is not hearsay.  Dinkins v. State, 894 S.W.2d 330, 347
(Tex. Crim. App. 1995).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In the present case, the computer printout of the credit application was offered
to show that a credit card had been applied for.  The application was not offered to
prove either who made the application or the truth of the statements within the
application.  Rather, it was offered to show that an application was made. 
Kucharski’s affidavit, while not a model of clarity, is sufficient, in the absence of a
specific objection, to authenticate the application as a record of the Bank.


  See Tex.
R. Evid. 901(a); Guidry v. State, 121 S.W.3d 849, 852 (Tex. App.—Beaumont 2003,
no pet.) (upholding admission of copy of fax through testimony of recipient).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contends that, even if the application was properly admitted, the
individual entries on the application were hearsay because the application was offered
to prove the truth of the entries containing Altamirez’s identifying information.  The
record does not support this contention.  The issue was not the truth of the entries, but 
that the entries were made and that they identified Altamirez and not some other
person.  It was the testimony of Altamirez, not the admission of the application, that
established that the entries were information identifying Altamirez, but not provided
by her. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We hold that the application was not offered to prove the truth of the
statements contained therein and was therefore not hearsay.  We further hold that the
affidavit was sufficient to support a finding that the application was a record kept by
the Bank.  Accordingly, we hold that the trial court did not abuse its discretion in
admitting the application into evidence.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the conviction.
&nbsp;



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sam Nuchia
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Panel consists of Justices Nuchia, Jennings, and Keyes.
Justice Jennings concurring.

Publish.  Tex. R. App. P. 47.2(b). 


